  Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 1 of 22 Page ID #:25205



 1 Michael S. Devereux (State Bar No. 225240)
   WEXFORD LAW
 2
   1880 Century Park East, Suite 1101
 3 Los Angeles, California 90067
   Telephone: (424) 444-0883
 4
   Attorneys for Defendant,
 5 SUGERY CENTER MANAGEMENT, LLC.
 6
 7
                                UNITED STATES DISTRICT COURT
 8
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,                    Case No.: CR 17-661-DMG
11                                              DEFENDANT SURGERY CENTER
                                                MANAGEMENT LLC.’S EX PARTE
12                       Plaintiff,             MOTION TO SUBSTITUTE EXHIBTS
13        vs.                                   FILED WITH MOTION FOR RETURN
                                                OF PROPERTY FOR ATTORNEYS’
14                                              FEES (ECF NO. 1158) AND FILE
15                                              CERTAIN EXHIBITS UNDER SEAL;

16 SURGERY CENTER MANAGEMENT,
   LLC. et al.,
17
18
                         Defendants.
19
20
21
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28
       CASE NO. 2:13-CV-02265-DDP-AGR       1
30
31
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 2 of 22 Page ID #:25206
  44716405.1



  TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR ATTORNEYS
  OF RECORD HEREIN:
          PLEASE TAKE NOTICE that, Defendant Surgery Center Mangement LLC, by
  and through his counsel of record, hereby requests ex parte an order from the Court
  permitting the filing of the following documents under seal, which are all exhibits to his
  contemporaneously-filed Motion For Return of Property (the “Motion”) Dkt. 1158):
  Compendium of Exhibits 1-121. SCM also hereby requests that the Court disregard the
  Declaration of Cindy Omidi (ECF No. 1158-1) and Exhibit 1 (ECF No. 1158-2) attached
  to the Motion and instead accept the attached Declaration of Cindy Omidi and Declaration
  of Shawn Pezeshk as the proper exhibits to the Motion, along with the Declaration of
  Michael Devereaux, which was filed with the Motion.


  Dated: August 3, 2021                  WEXFORD LAW,


                                           Michael S. Devereux
                                               Michael S. Devereux
                                             Attorney for Defendant
                                        SURGERY CENTER MANAGEMENT




                                              -2-
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 3 of 22 Page ID #:25207




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12                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
13
                                              Case No. CR No. 17-00661 (A) – DMG
14   United States of America,
                                              [PROPOSED] ORDER TO FILE
15                              Plaintiff,    UNDER SEAL CERTAIN EXHIBITS
                                              TO SURGERY CENTER
16         v.                                 MANAGEMENT LLC.’S MOTION
                                              FOR RETURN OF PROPERTY FOR
17   Julian Omidi, et al.,                    ATTORNEYS’ FEES
                                Defendants.
18
                                              Courtroom of the Hon. Dolly M. Gee
19

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Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 4 of 22 Page ID #:25208
      44715902.1



 1            Having considered Defendant Surgery Center Management LLC.’s
 2    unopposed ex parte application to file under seal certain exhibits to Surgery Center
 3    Management LLC.’s Motion for Return of Property for Attorneys’ Fees (the
 4    “Application”), and for good cause and compelling reasons shown, IT IS HEREBY
 5    ORDERED THAT the Application is GRANTED, and Compendium of Exhibits 1-
 6    121 shall be filed under seal.
 7

 8    IT IS SO ORDERED.
 9

10    Dated: ________
11

12
                                       HONORABLE DOLLY M. GEE
13                                     UNITED STATES DISTRICT COURT JUDGE
14

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 Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 5 of 22 Page ID #:25209



 1   Michael S. Devereux (State Bar No. 225240)
 2
     WEXFORD LAW
     1880 Century Park East, Suite 1101
3    Los Angeles, California 90067
4
     Telephone: (424) 444-0883

 5   Attorneys for Defendant,
     SURGERY CENTER MANAGEMENT, LLC.
 6

 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                                     CENTRAL DISTRICT OF CALIFORNIA
10

11                                                Case No. CR 17-00661(A)-DMG
     UNITED STATES OF AMERICA,
12

13
                 Plaintiff,                       [Assigned to Hon. Dolly M. Gee, District
14
                                                  Court Judge]
15

16
           vs.
17                                                DECLARATION OF CINDY OMIDI

18
     JULIAN OMIDI, INDEPENDENT MEDICAL
19
     SERVICES INC., a professional
20
     corporation, SURGERY CENTER
21   MANAGEMENT, LLC, and MIRALI
22   ZARABI, M.D.,
23

24
                 Defendants.
25

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 Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 6 of 22 Page ID #:25210



     1

     2             I, Cindy Omidi, hereby state and declare under penalty of perjury as follows:
     3
                   1. I am a resident of the County of Los Angeles, State of California, and I am the
     4
         President of Property Care Insurance, Inc.
     5

     6             2. On February 18, 2018, the government unsealed the Indictment against Surgery
 7       Center Management, LLC. SCM retained the services of George Paukert to represent it.
 8
         However, I understand that SCM had no appreciable funds to pay Mr. Paukert and
 9
         because of the lack of funds I volunteered to assist in paying for its attorney.
10

11             3. Surgery Center Management had an insurance policy with Property Care

12       Insurance and had paid more than $4,000,000 in premium payments to Property Care

13       under that policy. Property Care has agreed to defend SCM in this matter, only it has no

14       funds with which to pay for SCM's defense because Property Care's assets were seized by

15       the Government in 2014. (See Exhibit 11A," 5-25-19 Letter re: Reservation of Rights from
16       Property Care to SCM}. Except for the seizure of funds by the government, Property Care
17
         would have made payments to SCM for its defense in this case under the contracts and
18
         agreements which SCM and Property Care made between them.
19

20             4. In addition, pursuant to the May 25, 2019, Letter re: Reservation of Rights from

21       Property Care to SCM, Property Care assigned to SCM the rights to receive such funds:

22
                        ({Attached to this Reservation of Rights Letter is the Declaration of Cindy
23            Omidi, President of Property Care Insurance, whereby Property Care Insurance
24            acknowledges its obligations to defend your clients with defense costs. We have

25            assigned, transferred, and conveyed to you the right to pursue, receive, and secure
              funds belonging to Property Care Insurance which are held by the federal
26
              government, and we have authorized you to pursue that assignment, conveyance,
27
              and transfer in your name or in the name of Property Care Insurance." (Exhibit
28            11
                   A," 5-25-19 Letter re: Reservation of Rights from Property Care to SCM, p. 2 ~ 4}.


                                                       - 2-
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 7 of 22 Page ID #:25211



 1

 2         5. Because Property Care had no funds with which to make payment to SCM, on
 3   behalf of SCM, I or my companies paid Mr. Paukert approximately $20,000 in four
 4
     separate payments of $5,000 each as attorney's fees to represent Surgery Center
 5
     Management as its attorney. When Attorney Michael Devereau became Surgery Center
 6
     Management's attorney in May 2020, I or my companies have paid Mr. Devereau on
 7
     behalf of SCM approximately $7,000 a month to represent Surgery Center Management.
 8
     I, as an individual, no longer have the interest or willingness to expend my own funds to
 9
     pay for SCM's defense, which, as trial approaches will be growing significantly more
10
     expensive, especially since I understand that this will be a three month trial.
11

12         6. To date, the amount that I have been willing to fund for SCM's defense has
13   allotted approximately nine (9) hours of work, labor, and services each month to defend
14
     SCM. It seems to be impossible that Mr. Deveraux will be able to participate
15
     meaningfully in pretrial motions, evidentiary motions, pretrial conferences, and three
16
     months of daily trial without far more funding. As I understand it, the amount of the
17
     payment has been and is now insufficient to review the tens of millions of pages of
18
     discovery, interview witnesses, retain any experts or even obtain a discovery computer
19
     server or platform.
20

21         7. Mr. Omidi's counsel has submitted extensive documentation that in excess of
22   $18 million is necessary to defend his portion of the case alone. The Government has
23
     released $10 million to Mr. Omidi so far for his defense but has refused to release any
24
     funds to SCM. Funds must also be released to SCM so that it can exercise its Sixth
25
     Amendment right to counsel. The Government should not play favorites with the
26
     Defendants, and at a minimum, $10 million should be released to SCM so that SCM can
27
     properly defend itself
28



                                                 - 3-
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 8 of 22 Page ID #:25212



 1         8. SCM paid millions of dollars in insurance premiums to Property Care, and it is

 2   has a direct interest in receiving insurance benefits that are due to it to defend this case.,
 3   SCM is entitled to the return of its premiums it provided Property Care Insurance under
 4   its agreements with SCM for purposes of defense in this case. The government's seizure
 5
     of the entirety of Property Care's funds has made Property Care defunct as an insurance
 6
     company and has prevented Property Care from fulfilling its obligations and duties to
 7
     defend SCM in this case.
 8

 9         I declare under penalty of perjury under the laws of the United States the

10   foregoing is true and correct. Executed this 3d day of August, 2021, at Los Angeles,

11   California.
12

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15
                                                   Cindy Omidi
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Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 9 of 22 Page ID #:25213




                                     Exhibit “A”
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 10 of 22 Page ID #:25214
                            Property Care Insurance, Inc.
                                   269 South Beverly Boulevard
                                            Suite 1309
                                   Beverly Hills, California 90212


                                                      May 23,2019

   Mr. George Paukert
   44376 Hazel Canyon Lane
   Palm Desert, California 92260

                · Re:   Reservation of Rights Letter
                        Surgery Center Management, LLC.
                        Independent Medical Services, Inc.
                        Property Care Insurance Policy No. PCif /MP /009 /(G)
                        Claim dated April 25, 2019

   Dear Mr. Paukert:

           We are in receipt of your letter of April25, 2019, demanding defense and
   indemnification of the following legal proceedings on behalf of Surgery Center
   Management, LLC., and Independent Medical Services, Inc., pursuant to Property Care
   insurance Policy No. PCI/ /MP /009 /(G): United States v. julian Omidi, US District Court,
   Central District of California, Case No. 17 CR 00661, and in the case of United States v.
   Approximately $107,539,442.29 in Funds and Securities, US District Court, Central District of
   California, Case No. 18 CV 3855. We have read and considered your claim, and we have
   made a full due diligence investigation of the nature of each of these legal proceedings,
   along with the persons, events, and facts involved in the claims made in these proceedings.
   While our investigation and determination of these matters is continuing, we hereby make
   the following declaration of rights, reservations, and entitlements to your clients Surgery
   Center Management, LLC., and Independent Medical Services, Inc., regarding the insurance
   coverage of these proceedings.

           The policy question for which you have sought defense and indemnification of losses
   are claims of negligence, willful misconduct, and intentional violation of the law in
   connection with 17 CR 00661 and18 CV 3955 cases. The willful and intentional portion of
   each of these claims cannot be indemnified against pursuant to Insurance Code section 533,
   which prohibits insurance coverage for willful, malicious, intentional, or criminal acts of the
   insured. However, the negligence or unintentional portions of the 17 CR 00661 and 18 CV
   3855 cases would be covered by the Policy.

           We understand that the liability, truth, and accuracy of the claims made in the 17 CR
   00661 and 18 CR 3855 cases has not been determined. Under the Policy, we cannot and
   will not assume any of the facts, claims, or allegations in these legal proceedings are true or
   accurate. We only acknowledge Property Care Insurance's obligations to defend your
   clients under the policy regardless of the nature of the wilfulness of the claims in these
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 11 of 22 Page ID #:25215
   Mr George Paukert
   May23, 2019
   Page2



   legal proceedings until a final determination has been made of the nature, willfulness, or
   criminality of the conduct involved.

          This Reservation of Rights Letter does not constitute a denial of the claim you have
   made. Rather, it is notification to you that we reserve the right to deny the claims based on
   further developments and new information which may come to our knowledge in the
   future through our continuing investigation of these matters. We hereby notify you that
   while we will not waive our legal rights to deny coverage later in time, we will cover and
   pay for defense costs based on the terms and provisions of this Reservation of Rights
   Letter. Under our Reservation of Rights we will exclude any willful, intentional, or criminal
   conduct on the part of the insureds as made in a final determination by the courts in the 17
   CR 00661 and 18 CR 3855 cases

           We hereby further notify you that substantially all of Property Care Insurance's
   funds, assets, and reserves were seized by the federal government on June 4, 2014 and June
   19, 2014, as set forth in the above-entitled legal proceedings. Property Care Insurance does
   not have the means, assets, or funds available to provide you with your costs of defense.
   Our inability to provide such coverage and costs does not constitute a denial of your claim,
   nor should it be interpreted as a waiver of your clients' or our future rights regarding this
   Policy.

          Attached to this Reservation of Rights Letter is the Declaration of Cindy Omidi,
   President of Property Care Insurance, whereby Property Care Insurance acknowledges its
   obligations to defend your clients with defense costs. We have assigned, transferred, and
   conveyed to you the right to pursue, receive, and secure funds belonging to Property Care
   Insurance which are held by the federal government, and we have authorized you to pursue
   that assignment, conveyance, and transfer in your name or in the name of Property Care
   Insurance.

           Because we have made the above-indicated transfer, assignment, and conveyance to
   your clients of Property Care Insurance's right to obtain the funds now held by the federal
   government, we will not assert against you now or in the future any claims for the running
   of the statute oflamentations, failure to file a claim, failure to file a legal proceeding, or
   latches. In return your clients agree that they will not file legal proceedings against
   Property Care Insurance to enforce your clients' legal rights to defense or indemnity under
   the Policy until the above-referenced legal proceedings are resolved. Your clients and
   Property Care Insurance will forbear from taking any action against one another based on
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 12 of 22 Page ID #:25216
   Mr George Paukert
   May 23,2019
   Page 3



   the assignment, conveyance, and transfer of rights, and the forbearance agreement
   contained in this Letter.




         AGREED AND ACCEPTED
         Independent Medical Services, Inc.
         Surgery Center Management, LLC.


         By: ___________________________

                 Jamie Hidalgo
                 Manager, CEO, and Authorized Agent
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 13 of 22 Page ID #:25217



 1   Michael S. Devereux (State Bar No. 225240)
 2
     WEXFORD LAW
     1880 Century Park East, Suite 1101
 3   Los Angeles, California 90067
 4
     Telephone: (424) 444-0883

 5   Attorneys for Defendant,
 6
     SURGERY CENTER MANAGEMENT, LLC.

 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                                     CENTRAL DISTRICT OF CALIFORNIA
10

11                                                Case No. CR 17-00661(A)-DMG
     UNITED STATES OF AMERICA,
12

13
                 Plaintiff,                       [Assigned to Hon. Dolly M. GeeJ District
14
                                                  Court Judge]
15

16
           vs.
17                                                DECLARATION OF SHAWN PEZESHK RE:
                                                  SURGERY CENTER MANAGEMENT'S
18
                                                  LACK OF FUNDS
     JULIAN OMIDI, INDEPENDENT MEDICAL
19
     SERVICES INC., a professional
20
     corporation, SURGERY CENTER
21   MANAGEMENT, LLC, and MIRALI
22   ZARABI, M.D.,
23

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                 Defendants.
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Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 14 of 22 Page ID #:25218



 1          I, Shawn Pezeshk, hereby state and declare under penalty of perjury as follows:

 2          1.     I am the sole owner of Surgery Center Management, LLC (SCM). I make this

 3   declaration based on my personal knowledge, and if called as a witness I would testify as
 4
     follows:
 5                 On February 18, 2018, the government unsealed the Indictment against
            2.
 6
     Surgery Center Management, LLC. SCM retained the services of George Paukert to
 7
     represent it. However, SCM had no assets available to it at that time which to pay for
 8
     Mr. Paukert's representation.
 9
            3.     Surgery Center Management had an insurance policy with Property Care
10
     Insurance and had paid more than $4,000,000 in premium payments to Property Care
11
     under that policy. SCM made a formal claim to PCI, seeking indemnification for all
12
     defense fees incurred in the above-captioned action. (See Ex. A (April 25, 2019 Demand
13

14   Ltr to PCI). PCI agreed to defend SCM in this case on May 23, 2019. (Exh. B).

15          4.     Property Care has agreed to defend SCM in this matter, but, it had no funds

16   with which to pay for SCM's defense because Property Care's assets were seized by the

17   Government in 2014.
18          4.     Because PCI was not satisfying its obligations to SCM under the insurance
19   policy Cindy Omidi and her companies voluntarily paid the fees for SCM's representation.
20   Mrs. Omidi paid approximately $20,000 to Mr. Paukert. Since Mr. Michael Devereax
21
     became Surgery Center Management's attorney in May 2020, Mrs. Omidi has paid him
22
     approximately $7,000 a month to represent SCM. However, my understanding is that
23
     Mrs. Omidi is no longer willing to continue funding SCM's defense, given the increased
24
     expenditures associated with the upcoming trial.
25
            5.     SCM has no other assets that it can use to pay for counsel to represent it
26
     and its best interests at trial.
27

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                                                 - 2-
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 15 of 22 Page ID #:25219



 1         I declare under penalty of perjury under the laws of the United States the

 2   foregoing is true and correct. Executed this 3d day of August, 2021, at Los Angeles,
 3
     California.                                                      -----~




                                                              ~
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                                                         ......
 6
                                                 Shawn Pezeshk
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Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 16 of 22 Page ID #:25220




                                     Exhibit “A”
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 17 of 22 Page ID #:25221
                                               Law Offices of
                                    GEORGE J. PAUKERT
                                      44376 Hazel Canyon Lane
                                    Palm Desert, California 92260
                                           (31 0) 826-0180
                                         paukburt@aol.com

                                                           April25, 2019

   Ms. Cindy Omidi
   President. Property Care insurance, Inc.
   269 South Beverly Blvd., Suite 1409
   Beverly Hills, CA 90212

          Re:     United States v. Approximately $107,539,442.29 in Funds and Securities, US
                  District Court, Central District of California, Case No. 18 CV 3855,

                  United States v. Julian Omidi, US District Court, Central District of California
                  Case No. 17 CR 00661

   Dear Ms. Omidi:

        We represent Surgery Center Management, LLC., and Independent Medical Services, Inc, in
   connection with the above-indicated legal proceedings. Surgery Center'Management and
   Independent Medical Services are the insureds under a Policy of Liability Insurance which was
   issued by Property Care Insurance on December 31, 2009, bearing Policy No. PCIIMP/009(G),
   covering various events and hazards, casualties, and third party liabilities for the period
   December 31,2009, through December 31,2014, which are the subject of the above-indicated
   legal proceedings. Surgery Center Management and Independent Medical Services became
   aware of these claims on March 18, 2018, and May 8, 2018, respectively, and have previously
   notified you, and provided copies of these complaints.

           Surgery Center Management and Independent Medical Services, jointly and severally,
   hereby make the following claims for coverage under the above-indicated Policy. Surgery Center
   Management and Independent Medical Services demand your defense and indemnification for all
   claims, causes of action, losses, injuries, damages, good faith settlements, attorney's fees, and
   defense costs for these proceedings. We have undertaken the defense of these insureds, and
   while the clients may retain additional and other attorneys, we demand that Property Care
   Insurance pay all defense costs, expert witnesses, investigator costs, and other legal expenses
   involved in the defense of these proceedings.

           Please notify me of your acceptance of the defense and indemnification of the above-
   indicated insureds and clients.




                                                           George J. Paukert
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 18 of 22 Page ID #:25222




                                     Exhibit “B”
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 19 of 22 Page ID #:25223
                            Property Care Insurance, Inc.
                                   269 South Beverly Boulevard
                                            Suite 1309
                                   Beverly Hills, California 90212


                                                      May 23,2019

   Mr. George Paukert
   44376 Hazel Canyon Lane
   Palm Desert, California 92260

                · Re:   Reservation of Rights Letter
                        Surgery Center Management, LLC.
                        Independent Medical Services, Inc.
                        Property Care Insurance Policy No. PCif /MP /009 /(G)
                        Claim dated April 25, 2019

   Dear Mr. Paukert:

           We are in receipt of your letter of April25, 2019, demanding defense and
   indemnification of the following legal proceedings on behalf of Surgery Center
   Management, LLC., and Independent Medical Services, Inc., pursuant to Property Care
   insurance Policy No. PCI/ /MP /009 /(G): United States v. julian Omidi, US District Court,
   Central District of California, Case No. 17 CR 00661, and in the case of United States v.
   Approximately $107,539,442.29 in Funds and Securities, US District Court, Central District of
   California, Case No. 18 CV 3855. We have read and considered your claim, and we have
   made a full due diligence investigation of the nature of each of these legal proceedings,
   along with the persons, events, and facts involved in the claims made in these proceedings.
   While our investigation and determination of these matters is continuing, we hereby make
   the following declaration of rights, reservations, and entitlements to your clients Surgery
   Center Management, LLC., and Independent Medical Services, Inc., regarding the insurance
   coverage of these proceedings.

           The policy question for which you have sought defense and indemnification of losses
   are claims of negligence, willful misconduct, and intentional violation of the law in
   connection with 17 CR 00661 and18 CV 3955 cases. The willful and intentional portion of
   each of these claims cannot be indemnified against pursuant to Insurance Code section 533,
   which prohibits insurance coverage for willful, malicious, intentional, or criminal acts of the
   insured. However, the negligence or unintentional portions of the 17 CR 00661 and 18 CV
   3855 cases would be covered by the Policy.

           We understand that the liability, truth, and accuracy of the claims made in the 17 CR
   00661 and 18 CR 3855 cases has not been determined. Under the Policy, we cannot and
   will not assume any of the facts, claims, or allegations in these legal proceedings are true or
   accurate. We only acknowledge Property Care Insurance's obligations to defend your
   clients under the policy regardless of the nature of the wilfulness of the claims in these
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 20 of 22 Page ID #:25224
   Mr George Paukert
   May23, 2019
   Page2



   legal proceedings until a final determination has been made of the nature, willfulness, or
   criminality of the conduct involved.

          This Reservation of Rights Letter does not constitute a denial of the claim you have
   made. Rather, it is notification to you that we reserve the right to deny the claims based on
   further developments and new information which may come to our knowledge in the
   future through our continuing investigation of these matters. We hereby notify you that
   while we will not waive our legal rights to deny coverage later in time, we will cover and
   pay for defense costs based on the terms and provisions of this Reservation of Rights
   Letter. Under our Reservation of Rights we will exclude any willful, intentional, or criminal
   conduct on the part of the insureds as made in a final determination by the courts in the 17
   CR 00661 and 18 CR 3855 cases

           We hereby further notify you that substantially all of Property Care Insurance's
   funds, assets, and reserves were seized by the federal government on June 4, 2014 and June
   19, 2014, as set forth in the above-entitled legal proceedings. Property Care Insurance does
   not have the means, assets, or funds available to provide you with your costs of defense.
   Our inability to provide such coverage and costs does not constitute a denial of your claim,
   nor should it be interpreted as a waiver of your clients' or our future rights regarding this
   Policy.

          Attached to this Reservation of Rights Letter is the Declaration of Cindy Omidi,
   President of Property Care Insurance, whereby Property Care Insurance acknowledges its
   obligations to defend your clients with defense costs. We have assigned, transferred, and
   conveyed to you the right to pursue, receive, and secure funds belonging to Property Care
   Insurance which are held by the federal government, and we have authorized you to pursue
   that assignment, conveyance, and transfer in your name or in the name of Property Care
   Insurance.

           Because we have made the above-indicated transfer, assignment, and conveyance to
   your clients of Property Care Insurance's right to obtain the funds now held by the federal
   government, we will not assert against you now or in the future any claims for the running
   of the statute oflamentations, failure to file a claim, failure to file a legal proceeding, or
   latches. In return your clients agree that they will not file legal proceedings against
   Property Care Insurance to enforce your clients' legal rights to defense or indemnity under
   the Policy until the above-referenced legal proceedings are resolved. Your clients and
   Property Care Insurance will forbear from taking any action against one another based on
Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 21 of 22 Page ID #:25225
   Mr George Paukert
   May 23,2019
   Page 3



   the assignment, conveyance, and transfer of rights, and the forbearance agreement
   contained in this Letter.




         AGREED AND ACCEPTED
         Independent Medical Services, Inc.
         Surgery Center Management, LLC.


         By: ___________________________

                 Jamie Hidalgo
                 Manager, CEO, and Authorized Agent
     Case 2:17-cr-00661-DMG Document 1170 Filed 08/04/21 Page 22 of 22 Page ID #:25226
Michael S. Devereux (SBN 225240)
WEXFORD LAW
1880 Century Park East, Suite 1101
Los Angeles, California 90067
Telephone: (424) 444-0883


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
United States of America                                    CASE NUMBER:

                                                                        CR No. 17-00661 (A) - DMG
                                             PLAINTIFF(S)
                             v.
Julian Omidi, et al.                                                 NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
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Compendium of Exhibits 1-121




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          Per Court order dated:
          Other:




08/03/2021                                                    Michael S. Devereux
Date                                                          Attorney Name
                                                              Surgery Center Management, LLC
                                                              Party Represented


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